Case 1:04-cr-00127-RCT Document 229

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UNlTED STATES DISTRICT COURT FOR THE DISTRICT OF lDAHO

UNITED STATES OF Al\/[ERlC/-\,
Pluintiff,
VS.
DAVlD ROLAND HlNKSON,

Defendant.

 

Case No. CR-O4-l27-C-RCT

GOVERNMEN'I"S SUPPLEl\/ll:`.l\t'l`AL
MEMORANDUl\/l lN SUPPORT OF
l\/[OTION TO STRlKE DEFENDANT’S
RULE 33 l\/IOTION

C`OMES NOW the United States of Ameriea, by and through its undersigned attorneys,

and respectfully files this supplemental memorandum in support of its motion to strike Defendant

David Roland Hinkson’s Rule 33 l\/Iotion for New Trial or in the Alternative l\/lotion to Disrniss

(Defendant’s l\/lotion).

First. the government would like to notify the Court that the trial government counsel had

been planning to Conduct this month has been continued ln light ofthis ehange, the government

would request two weeks to respond to a revised Rule 33 motion, should the defendant file such

GOVERNMENT`S SUPPLEMENTAL MEMORANDUM
IN SUPPORT OF MOTION TO STRIKE DEFENDANT’S RULE 33 MOTION

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a motion that meets the 20 page limit ofthe L.ocal Rules and this Court’s order of February 28,
2005 (docket entry no. 223).

Second. the government notes that its motion to strike inadvertently omitted mention of
the fact that defendant’s Rule 33 papers also include a 40 page, single-spaced argument
captioned "Statement of Facts,” which is attached as Exhibit l to the memorandum submitted in
support of Defendant’s Motion. Assuming these 40 single-spaced pages would yield 80 double‘
spaced pages, defendant’s papers therefore total l26 pages ofargument. T`he government counts
126 pages, as follows:

A. S-page motion that is loaded with argument,

B. lS-page affidavit of counsel Wesley W. Hoyt,

C`. 20-page memorandum, and

D. 80-page statement of facts.

By any measure_, defendant"s legal arguments far exceed the 20-page limit.

Respectfully submitted,

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Dated: Mareh l7, 2005

GOVERNMENT’S SUPPLEl\/IENTAL MEMORANDUM
lN SUPPORT OF l\/IOTION TO STRIKE DEFENDANT’S RULE 33 l\/IOTION
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l certify that, on this

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CERTIFICATE OF SERVICE

day of l\/larch, 2005, l have served a true and correct copy of

the forgoing GO'\/ERNl\/IE.NT’S SUPPLEMENTAL l\/IEMORANDUM lN SUPPORT OF

MOTIOI\" TO STRIKE DEFENDANT`S RULE 33 MOTI.ON upon the persons named below by

the method so indicated:

Wesley W. Hoyt

Attorney for Defendant
Bank One Building

333 West Hampden #500
Englewood, Colorado 80l 10

The Honorable Richard Tallman
United States Courthouse

l200 61]‘ Avenue

2`1“‘ Floor

Seattle, Washington 98101

(X) U.S. l\/Iail, l”[ class postage paid
(i) Federal Express

(_) Hand Delivery

(_M) Facsimile: 303-806-8881

(i) Facsimile: 208-926-7554

(X) U.S. Mail, l51 class postage paid
(_) F ederal Express

(L) Hand Deliveiy

(i) Facsimile: 206-553-6306

 

GOVERNMENT’S SUPPLE`;\/IENTAL NlEMORANDUl\/l
lN SUPPORT OF l\/IOTION TO STRIKE DEFENDANT’S RULE 33 MOTlOl\i

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